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                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                 No. CR 17-1923 RB

JOHN LEROY MILNE and

MANUEL PAVON-RODRIGUEZ,

               Defendants.


                            MEMORANDUM OPINION AND ORDER

       The government intends to try Defendants Manuel Pavon-Rodriguez and John Leroy

Milne together for crimes involving marijuana. Presuming that Mr. Milne will not testify at trial,

Mr. Pavon-Rodriguez argues that the Sixth Amendment’s Confrontation Clause compels the

Court to either sever the trial or exclude any reference to out-of-court statements that Mr. Milne

made to law enforcement. For the reasons detailed below, the Court declines to sever the trial.

       After considering the law and the nine numbered statements detailed in the Facts section,

the Court determines that Statements 1–4 and 8 will be admissible with no limiting instruction so

long as those statements are not used to prove the truth of the matter asserted. Statements 5 and 6

are admissible with a proper instruction telling the jury to only consider those statements with

regard to Mr. Milne. Statements 7 and 9 must be excluded unless Mr. Milne testifies at trial.

                                             FACTS

       Highway 80 originates in the border town of Douglas, Arizona, and runs north until it

merges into Interstate 10 in New Mexico. (Doc. 72 at 2.) There are no Border Patrol checkpoints
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from Highway 80’s origin in Douglas up to Interstate 10. (Id.) For that reason, Highway 80 is a

popular route for smugglers of contraband. (Id.)

       On the morning of June 23, 2017, Matthew Defayette, an agent with the United States

Border Patrol, saw a brown, four-door Ford Explorer with tinted windows heading north on

Highway 80. (Id. at 3.) Agent Defayette did not recognize the Explorer as a local vehicle, nor

could Agent Defayette see a license plate on the Explorer. (Id.) His interest piqued, Agent

Defayette decided to follow the Explorer. (See id.)

       After about 1.5–2 miles, the Explorer pulled into the parking lot of the Rodeo Tavern in

Rodeo, New Mexico. (Id.) Agent Defayette also pulled into the parking lot. (See id. at 4.) A man,

Defendant John Leroy Milne, emerged from the Explorer and approached Agent Defayette’s

vehicle. (See id.) Agent Defayette exited his vehicle and spoke with Mr. Milne. (See id.) A short

while into their conversation, Border Patrol agents Roger Evan Jay, Jr. and Rene Rocha joined

Agent Defayette and Mr. Milne. (Id. at 6.) At the end of the interaction, the Border Patrol agents

arrested Mr. Milne. (Id. at 7.) They discovered that the Explorer was carrying several burlap

backpacks filled with about 111.8 kilograms of marijuana. (Id.) They also discovered a man

hiding in the Explorer, Defendant Manuel Pavon-Rodriguez, whom they arrested. (See id.)

       This opinion focuses on the nine statements that Mr. Milne made to the Border Patrol

agents during their interaction that day:

       Statement 1: Agent Defayette asked Mr. Milne if everything was okay, and Mr. Milne

       stated that he was okay, and that he was stopping at the Rodeo Tavern for a drink. (See

       Doc. 59 at 1.)

       Statement 2: Agent Defayette asked Mr. Milne about his itinerary, and Mr. Milne stated

       that he was going from Benson, Arizona, to Phoenix, Arizona. (See id.)



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       Statement 3: Agent Defayette asked Mr. Milne what he was doing in the area, and Mr.

       Milne answered that he was looking for work. (See id. at 2.)

       Statement 4: Agent Defayette asked Mr. Milne if there was anything illegal or anyone

       else in the Explorer, to which Mr. Milne answered, “No.” (See id.)

       Statement 5: Agent Defayette asked Mr. Milne if he had any identification, and Mr.

       Milne responded that he did not have identification, but that his name was “John Milne,”

       with a date of birth of “September 29, 1961.” (See id.)

       Statement 6: After telling Agent Jay that there was a temporary Arizona license sticker

       attached to the back of the Explorer, Mr. Milne said that he would retrieve the sticker for

       the agents. (See id.)

       Statement 7: As Mr. Milne was grabbing the temporary sticker, the agents saw burlap

       backpacks in the cargo area of the Explorer. Asked what was in the backpacks, Mr. Milne

       answered, “bales.” (See id.)

       Statement 8: When Agent Defayette asked Mr. Milne, “bales of what,” Mr. Milne said

       that he did not know. (See id.)

       Statement 9: Mr. Milne was asked again if someone else was inside the Explorer, and Mr.

       Milne responded that there was a person lying down in the backseat. (See id.)

       The government has charged both Mr. Milne and Mr. Pavon-Rodriguez with conspiracy

to distribute marijuana and possession with intent to distribute marijuana. The government

intends to try both defendants at a single trial. Mr. Pavon-Rodriguez protests this arrangement,

pointing out that he is entitled under the Confrontation Clause of the Sixth Amendment to

confront any witness who makes statements against him. (See Doc. 51 at 2.) Since the nine

statements above were made by Mr. Milne, who may not testify, Mr. Pavon-Rodriguez will not



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be able to confront Mr. Milne about those statements. (See Doc. 51 at 1.) To vindicate his Sixth

Amendment rights, Mr. Pavon-Rodriguez asks the Court to either sever the trial for the two

defendants or exclude the above statements by Mr. Milne. (See id.)

                                      LEGAL STANDARD

   I.      The Confrontation Clause of the Sixth Amendment

        The Confrontation Clause of the Sixth Amendment provides that “in all criminal

prosecutions, the accused shall enjoy the right . . . to be confronted with the witnesses against

him.” U.S. Const. amend. VI. After examining the history behind the Sixth Amendment, the

Supreme Court in Crawford v. Washington explained that the Confrontation Clause protects a

defendant’s right to confront those who bear testimony against him. See Crawford v.

Washington, 541 U.S. 36, 51 (2004). It does this by barring a witness’s testimony against a

defendant unless the witness appears at trial or, if the witness is unavailable, the defendant had a

prior opportunity to cross-examine the witness. See id. at 68.

        The Court in Crawford did not specify the type of witness testimony that would fall

under the Confrontation Clause, but it did say that, at a minimum, the Confrontation Clause

covered prior testimony at a preliminary hearing, before a grand jury, or at a former trial,” as

well as prior testimony given at “police interrogations.” See id. The Tenth Circuit in United

States v. Smalls tried to determine with more precision the type of testimony covered by the

Confrontation Clause, defining “testimonial” statements covered by the Clause as either (1) “a

formal declaration made by the declarant that, when objectively considered, indicates the

primary purpose for which the declaration was made was that of establishing or proving some

fact potentially relevant to a criminal prosecution” or (2) a formal statement such that “a

reasonable person in the position of the declarant would objectively foresee that the primary


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purpose of the statement was for use in the investigation or prosecution of a crime.” See United

States v. Smalls, 605 F.3d 765, 778 (10th Cir. 2010). Only if the statements in question qualify as

“testimonial” under the above definitions does the statement implicate the Confrontation Clause.

         Even if the statements are “testimonial,” the prosecution may sometimes still use the

statements against a defendant who never had the opportunity to cross-examine the speaker. As

the Supreme Court explained in Crawford, the Confrontation Clause “does not bar the use of

testimonial statements for purposes other than establishing the truth of the matter asserted.” See

Crawford, 541 U.S. at 59 n.9. Synthesizing the law thus far, the prosecution may not use a

“testimonial” statement made by an out-of-court speaker for the truth of the matter asserted

against a defendant unless (1) the speaker testifies at trial or (2) the defendant previously had an

opportunity to cross-examine the speaker, and the speaker is unavailable.

   II.        The Confrontation Clause and Joint Trials

         In the special context of joint trials, there are still more rules governing the application of

the Confrontation Clause. Courts have long noted that joint trials, where the prosecution tries

more than one defendant at a time, pose a unique situation when the prosecution seeks to admit a

statement made by a non-testifying defendant. See, e.g., Crawford, 541 U.S. at 59 (noting that

there is an “entirely different question” under the Confrontation Clause when considering a

statement made by a codefendant), Melendez-Diaz v. Massachusetts, 557 U.S. 305, 314 n.4

(2009) (same). In that context, the statement is freely admissible under the Sixth Amendment

against the defendant who made the statement, but the Sixth Amendment prevents the admission

of the statement against any codefendant. See United States v. Shaw, 758 F.3d 1187, 1196 (10th

Cir. 2014).




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       Aware that confessions (statements made by a defendant) and joint trials are vital to the

justice system, the Supreme Court refused to always force prosecutors seeking to admit a

defendant’s confession in a joint trial to either toss the confession or try the defendants

separately. See Richardson v. Marsh, 481 U.S. 200, 209–11 (1987). Instead, the Supreme Court

pointed out that “ordinarily, a witness whose testimony is introduced at a joint trial is not

considered to be a witness ‘against’ a defendant if the jury is instructed to consider the testimony

only against a codefendant.” See id. at 206. Since the Confrontation Clause only protects a

defendant’s right to confront those who bear testimony against him, see Crawford, 541 U.S. at

51 (emphasis added), a limiting instruction can sometimes cure the Confrontation Clause issue

with a codefendant’s confession in a joint trial. Based on the above principles, the Richardson

Court held that confessions that are redacted to eliminate the defendant’s name, as well as any

reference to the defendant, will not violate the Confrontation Clause if there is a proper limiting

instruction. See Richardson, 481 U.S. at 200.

       The Richardson Court noted, however, that there were exceptions to the general

assumption that juries follow the Court’s instructions, and that there would be situations where a

limiting instruction would not be enough. See Richardson, 481 U.S. at 207. Citing Bruton v.

United States, 391 U.S. 123, 135–36 (1968), the Richardson Court acknowledged that in certain

contexts, the out-of-court statements of a codefendant could be so powerfully incriminating that

it would overpower any limiting instruction, thus necessitating exclusion of the codefendant

statements under the Confrontation Clause. Richardson, 481 U.S. at 207 (discussing Bruton, 391

U.S. at 135–36). The Richardson Court clarified that this “Bruton rule” is narrow and applicable

only to situations where the incriminating testimony is so “vivid” and “difficult to thrust out of

mind” that there exists an “overwhelming probability” that the jury cannot comply with an



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instruction to ignore the incriminating testimony with regard to the defendant. See id. at 208. On

the other hand, Bruton is inapplicable where the codefendant’s statement did not “incriminate on

its face,” and became incriminating “only when linked with evidence introduced later at trial.”

See id. In that instance, the codefendant’s statement is only inferentially incriminating, and “the

judge’s instruction may well be successful in dissuading the jury from entering onto the path of

inference” in the first place. See id.

        In Richardson, Clarissa Marsh and Benjamin Williams were charged with murder,

robbery, and assault. Id. at 202. There was a third person involved in the crime, Kareem Martin,

but he was a fugitive at the time of the trial. Id. At Ms. Marsh and Mr. Williams’s joint trial, the

prosecution introduced a confession that Mr. Williams gave to the police shortly after his arrest.

Id. at 203. The confession described, among other things, Mr. Williams’s conversation with Mr.

Martin (the fugitive) as they drove to the victim’s home. See id. at 203–04. During that

conversation, Mr. Martin said that “he would have to kill the victims after the robbery.” Id. at

204. The confession redacted all reference to Mr. Williams’s codefendant, Ms. Marsh—in fact,

somebody who only listened to the confession would have thought that only Mr. Williams and

Mr. Martin were in the car. See id. at 203–04. After the prosecution rested, Ms. Marsh took the

stand and testified about, among other things, sitting in a car with Messrs. Williams and Martin

as they drove to the victim’s house. Only by putting Ms. Marsh’s testimony together with the

earlier confession could the jury infer that Ms. Marsh was in the car when Mr. Martin talked

about killing the victims. Under these facts, the Supreme Court in Richardson distinguished the

case from Bruton and held that, where “the confession is redacted to eliminate not only the

defendant’s name, but any reference to his or her existence,” the confession is only inferentially




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incriminating and a proper limiting instruction would be effective in preventing a Confrontation

Clause violation. See id. at 211.

       After Richardson was decided, courts dealing with joint trials grappled with the question

of whether a particular non-testifying codefendant’s confession fell under Richardson, and was

thus admissible in a joint trial with a limiting instruction, or whether the confession fell under

Bruton, and was thus so incriminating that it would overwhelm any limiting instruction. Over a

decade later, in Gray v. Maryland, 523 U.S. 185 (1998), the Supreme Court provided more

clarity as to whether Richardson or Bruton applied to a particular confession.

       In Gray, defendant Anthony Bell gave a confession to the Baltimore City Police in which

he said that he, codefendant Kevin Gray, and Jacquin “Tank” Vanlandingham had severely

beaten the victim, Stacey Williams, who later died. See Gray, 523 U.S. 185, 188 (1998). The

State indicted Messrs. Bell and Gray and tried them jointly (the State did not indict Mr.

Vanlandingham because he had passed away). Id. Over Mr. Gray’s objection, the trial judge

permitted the State to introduce a redacted version of Mr. Bell’s confession into evidence. Id.

When the police detective read the confession into evidence at trial, he said aloud the word

“deleted” or “deletion” whenever Mr. Gray’s or Mr. Vanlandingham’s name appeared. Id. The

judge instructed the jury that the confession was only evidence against Mr. Bell, and could not be

used against Mr. Gray. Id. at 189. The jury convicted both defendants, and Mr. Gray appealed on

Sixth Amendment grounds. See id.

       In deciding whether Bruton or Richardson applied, the Gray Court conceded that

Richardson placed outside the scope of the Confrontation Clause statements that “incriminate

inferentially.” See id. at 195. However, the Gray Court gathered that “inference pure and simple

cannot make the critical difference.” Id. at 195. If inference was the critical difference, the Gray



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Court reasoned, the prosecution could circumvent the Confrontation Clause simply by replacing

the defendant’s name with an obvious reference to the defendant, like “the-other-person-sitting-

at-the-table-who-shall-not-be-named.” See id. Of central importance, according to the Gray

Court, is the kind of inference required for incrimination: statements that “did not refer directly

to the defendant . . . and which became incriminating ‘only when linked with evidence

introduced later at trial’ ” was the type of inference that did not have to be excluded under the

Confrontation Clause. See id. at 196. On the other hand, inferences that “involve statements that,

despite redaction, obviously refer directly to someone, often obviously the defendant, and which

involve inferences that a jury ordinarily could make immediately, even were the confession the

very first item introduced at trial” would be subject to exclusion under the Confrontation Clause.

See id. Additionally, “facially incriminatory” statements—such as statements with prominent

redactions—are also subject to exclusion under Bruton because they are “more vivid than

inferential incrimination and . . . hence more difficult to thrust out of mind.” See id.

       Turning to the facts of their case, the Gray Court found it significant that, “unlike

Richardson’s redacted confession, [Mr. Bell’s confession] refers directly to the ‘existence’ of the

nonconfessing defendant.” Id. at 192. According to the Gray Court, the statements in the case

often obviously refer to the defendant and involve incriminating inferences that a jury ordinarily

could immediately make. See id. at 196. The prominent redactions also facially incriminated the

defendant and made a vivid accusation that was difficult to expel from the juror’s mind. See id.

at 196. Under these circumstances, the Gray Court found that the facts more resembled Bruton

than Richardson, and consequently a limiting instruction would not remedy the Confrontation

Clause problem. See id. at 197.




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       The Tenth Circuit has adopted the Supreme Court’s rulings in Richardson and Gray. See

United States v. Zar, 790 F.3d 1036, 1052 (10th Cir. 2015). In Zar the Tenth Circuit held that the

“Confrontation Clause is not violated as long as the court (1) redacts the non-testifying

codefendant’s confession to eliminate the defendant’s name and any reference to her existence,

and (2) gives a proper limiting instruction when it admits the confession.” Id. (citing Richardson,

481 U.S. at 208, 211). The Tenth Circuit has also added an extra wrinkle to the case law above:

in United States v. Glass, 128 F.3d 1398 (10th Cir. 1997), the Tenth Circuit held that Bruton

applied even when a codefendant’s statements were not “facially or directly inculpatory” if the

fact revealed was critical to the prosecution’s case. Glass, 128 F.3d at 1405.

       In Glass, a jury convicted Katrice Lashawn Glass and Larry Burnett of crimes involving

the distribution of cocaine. See id. at 1400. The prosecution in that case accused Mr. Burnett of

aiding and abetting Ms. Glass in the crime, and, to make out its case, it needed to tie Mr. Burnett

and Ms. Glass together. See id. at 1404. This was tricky because both Mr. Burnett and Ms. Glass

had denied knowing one another during initial interviews with police. See id. Over objection, the

government, through a detective’s testimony, introduced two statements that Ms. Glass had

made: (1) Ms. Glass had said that she and Mr. Burnett were “half-brother and half-sister,” and

(2) Ms. Glass named one Ruthy Maye Simmons as her grandmother, which is significant because

Mr. Burnett also claimed that Ruthy Maye Simmons was his grandmother. See id. Although the

statements were innocuous on their face and only inferentially inculpatory, the Tenth Circuit

noted that the statements constituted “strong circumstantial evidence” that the defendants worked

together, and such evidence was “critical and necessary” to the government’s case. See id. Thus,

the Glass Court found that the statements had been admitted in violation of Bruton. See id. at

1404–05.



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          Putting everything together, the Confrontation Clause applies only to testimonial

statements offered for their truth against the defendant. In a joint trial, the confession of a

codefendant may be admitted if there is a limiting instruction and all reference to even the

existence of the other, non-confessing defendant is erased. Although later evidence combined

with his codefendant’s confession may still link the defendant in an incriminating way, there is

no Confrontation Clause problem if the incriminating inference is not too obvious, vivid, or

overwhelming to be cured by a limiting instruction. Lastly, the information elicited from the

inferentially incriminating statement cannot be a critical part of the prosecution’s case against the

non-confessing defendant.

   III.      Mr. Pavon-Rodriguez’s Conception of the Confrontation Clause

          Mr. Pavon-Rodriguez disputes the picture of the law painted above. First, he contends

that it is no longer the law that only statements offered for their truth are subject to the

Confrontation Clause. (See Doc. 56 at 1.) To support his claim, he cites Williams v. Illinois, 567

U.S. 50 (2012) to say that five Justices had rejected the “not-for-truth” rationale. (See Doc. 56 at

1.) A closer look at Williams, however, reveals that Mr. Pavon-Rodriguez’s argument is nothing

more than a grab at fortuitous phrasing by the Justices.

          Williams involved a young woman from Chicago, L.J., who was abducted and raped on

her walk back from work. See Williams, 567 U.S. at 59. L.J. survived the attack and was treated

at a nearby hospital, where doctors treated her wounds and took blood samples and vaginal

swabs for a sexual-assault kit. Id. The vaginal swabs were later sent to Cellmark Diagnostics

Laboratory in Germantown, Maryland, for DNA testing. Id. From the semen on the swabs,

Cellmark produced a report that contained a male DNA profile. Id. Cellmark sent the report to

the Illinois State Police (ISP) lab, where Sandra Lambatos, a forensic specialist, compared the



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DNA profile from Cellmark’s report to entries in the Illinois DNA database. Id. The computer

showed a match to the DNA profile of the defendant, Sandy Williams. Id.

         At trial, Ms. Lambatos testified as an expert in forensic biology and DNA analysis. See

id. at 60. She testified that, after comparing the DNA profile produced by Cellmark from L.J.’s

vaginal swabs to the DNA profile from Mr. Williams’s blood, she concluded that the two

profiles matched. See id. at 61. The Cellmark report itself was neither shown to the jury nor

admitted into evidence. Id. at 62. Ms. Lambatos “did not quote or read from the report; nor did

she identify it as the source of any of the opinions she expressed.” Id. Mr. Williams objected on

Confrontation Clause grounds, suggesting that he should have been able to confront the

individual at Cellmark who prepared the report. See id. at 62–63.

         Writing for a four-Justice plurality, Justice Alito concluded that there was no

Confrontation Clause problem because the report had not been used for its truth, but merely to

see whether it matched something else. See id. at 78. Justice Thomas, who concurred only in the

judgment, rejected the plurality’s argument that the report was not used for its truth. See id. at

104 (Thomas, J., concurring in the judgment). To Justice Thomas, “there is no meaningful

distinction between disclosing an out-of-court statement so that the factfinder may evaluate the

expert’s opinion and disclosing that statement for its truth.” Id. at 106. Writing for the four

dissenting Justices, Justice Kagan rejected the idea that the Cellmark report had not been used for

its truth: “when a witness, expert or otherwise, repeats an out-of-court statement as the basis for a

conclusion . . . the statement’s utility is then dependent on its truth.” See id. at 126 (Kagan, J.,

dissenting). What is clear, then, is that the fight in Williams was about whether the not-for-truth

exception applies, not whether the not-for-truth exception survives.1


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 Justice Kagan wrote in her dissent that the Confrontation Clause “does not bar the use of testimonial statements for
purposes other than establishing the truth of the matter asserted.” Williams, 567 U.S. at 125.

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        Second, Mr. Pavon-Rodriguez disagrees with the idea—established in Richardson v.

Marsh—that certain inferentially-incriminating statements could be admitted in joint trials with a

limiting instruction. (See Doc. 56 at 2–3.) He cites Melendez-Diaz v. Massachusetts, 557 U.S.

305 (2009) for the proposition that the defendant has the right to confront a witness even if the

testimony, taken alone, will not suffice to convict. (Id.) But Melendez-Diaz does not disturb

Richardson: The same Justice (Justice Scalia) authored both Melendez-Diaz and Richardson, and

he clarified that without a limiting instruction, even statements that only inferentially incriminate

a defendant would need to be excluded under the Confrontation Clause. See Melendez-Diaz, 557

U.S. at 314 n.4. With a limiting instruction, however, certain inferentially incriminating

statements are admissible. See id. (emphasis added).

        Along this vein, Mr. Pavon-Rodriguez also suggested during the motion hearing that the

Court should give less weight to Richardson and Gray because they pre-date Crawford v.

Washington. But the Court can find no reason why Crawford, which limited the Confrontation

Clause to testimonial statements and repudiated the Ohio v. Roberts indicia of reliability test,

would abrogate Richardson or Gray, which dealt with the different question of the effectiveness

of limiting instructions for codefendant confessions in joint trials. Additionally, Crawford was

decided in 2004, but the Tenth Circuit in 2015 cited Richardson as binding precedent, see Zar,

790 F.3d at 1052, and the Supreme Court in 2009 cited Gray as binding precedent, see

Melendez-Diaz, 557 U.S. at 314 n.4.

                                         APPLICATION

   I.          Statements not offered for the truth.

   The government contends that Statements 1–4 and 8 will not be offered for their truth.

Statements 1–4 (about stopping for a drink of water, traveling from Benson to Arizona, looking



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for work in Rodeo, and not having contraband or anyone else in the car) are all instances where

the government believes that Mr. Milne was not being truthful with Agent Defayette. The

government also would not offer Statement 8 for its truth since the government is arguing that

Mr. Milne knew (or should have known) what was in the bales. Accordingly, the Court accepts

that Statements 1–4 and 8 could be offered for a purpose other than to establish the truth of the

matter asserted. If the government does not offer these statements for their truth at trial, they will

not be subject to the Confrontation Clause.

   II.      Statements that do not directly incriminate.

         After culling statements not offered for their truth, the remaining statements at issue are

Statements 5, 6, 7, and 9. Statement 5, where Mr. Milne tells the agents that he has no

identification and provides the agents with his name and date of birth, is not facially

incriminating towards Mr. Pavon-Rodriguez. Like the confession in Richardson, there is no

reference to even the existence of Mr. Pavon-Rodriguez. Statement 5 also does not appear to

elicit some fact that is critical to the prosecution’s case against Mr. Pavon-Rodriguez.

Accordingly, a limiting instruction telling the jury to consider Statement 5 only with regard to

Mr. Milne’s guilt would be effective in preventing prejudice to Mr. Pavon-Rodriguez, and the

statement does not need to be excluded under Bruton.

         Similarly, Statement 6, where Mr. Milne tells the agents that he will retrieve the

temporary plate for them, is analogous to the confession in Richardson. Statement 6 does not

even mention Mr. Pavon-Rodriguez’s existence. At the very most, the statement could only be

inferentially incriminating towards Mr. Pavon-Rodriguez, and any inferentially incriminating

information would not be critical to the prosecution’s case against Mr. Pavon-Rodriguez. A




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limiting instruction would be effective in preventing prejudice to Mr. Pavon-Rodriguez, and the

statement does not need to be excluded under Bruton.

       As to Statement 7, where Mr. Milne tells agents that there are “bales” in the backpacks,

the statement is analogous to the confession in Richardson because there is no reference to the

existence of Mr. Pavon-Rodriguez. The problem with Statement 7, however, comes from the fact

that Statement 7 could be used as circumstantial evidence to prove Mr. Pavon-Rodriguez’s

possession or knowledge of the marijuana: if the bales are in the car, and Mr. Pavon-Rodriguez is

in the car, did Mr. Pavon-Rodriguez have control of the marijuana? Did he know about the

marijuana? Since the government is accusing Mr. Pavon-Rodriguez of conspiracy to distribute

marijuana and possession with intent to distribute marijuana, possession or knowledge of the

marijuana in the car is critical to the government’s case. The situation here calls to mind United

States v. Glass, where the Tenth Circuit found that statements which were innocuous on their

face and only inferentially inculpatory were nonetheless barred under Bruton because the

statements constituted “strong circumstantial evidence” that was “critical and necessary” to the

government’s case. See Glass, 128 F.3d at 1404–05. The Court will exclude Statement 7 under

Glass for revealing circumstantial evidence of an element critical to the government’s case

against Mr. Pavon-Rodriguez.

       Finally, the Court turns to Statement 9, where Mr. Milne tells the agents that there is

someone lying in the back seat. One could argue that this is only inferentially incriminating,

since Gray v. Maryland said that prohibited inferences were those that, “despite redaction,

obviously refer directly to someone, often obviously the defendant, and which involve inferences

that a jury ordinarily could make immediately, even were the confession the very first item

introduced at trial.” See Gray, 523 U.S. at 196. If Statement 9 were the very first item introduced



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at trial, perhaps a jury would not know who was lying in the backseat. In that case, it may take

more linking evidence to cause Statement 9 to become incriminating to Mr. Pavon-Rodriguez.

          On the other hand, this resembles the situation in Gray (where the Court held that a

limiting instruction was not enough) because Statement 9 obviously refers to the existence of Mr.

Pavon-Rodriguez. In doing so, the statement already fails the Tenth Circuit’s test in United

States v. Zar. See Zar, 790 F.3d at 1052 (requiring the non-testifying codefendant’s confession to

eliminate any reference to the existence of the other codefendant). Gray also said that statements

that were “more vivid than inferential incrimination, and hence more difficult to thrust out of

mind,” would be difficult to remedy with a limiting instruction and thus subject to Bruton. See

Gray, 523 U.S. at 196. Statement 9 would almost certainly be admitted after some other evidence

had already been admitted, and it would be easy for the jury to look over at the defense table and

know immediately who the “someone” lying in the backseat was. The statement that he was

lying in the backseat could create vivid imagery of Mr. Pavon-Rodriguez hiding, which connotes

his guilt, and could be powerfully incriminating. Because Statement 9 references Mr. Pavon-

Rodriguez in an obvious manner and has a high chance of creating vivid prejudice in the mind of

the juror, a limiting instruction would not be effective, and Statement 9 is barred under Bruton.

   III.      Co-Conspirator Statement

          The government also argues that Statements 1–4 and 8 were made in furtherance of the

charged criminal conspiracy, and are thus co-conspirator statements not subject to the

Confrontation Clause. (See Doc. 59 at 5–8.) The Court does not need to reach this issue because

the government has represented to the Court that Statements 1–4 and 8 will not be offered for

their truth, and the Court has determined that Statements 1–4 and 8 will not violate the

Confrontation Clause if they are not offered for their truth.



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                                 CONCLUSION

For the reasons provided above, the Court orders that:

(1) Mr. Pavon-Rodriguez’s motion to sever the trial is denied.

(2) Statements 1–4 and 8 are admissible with no limiting instruction if they are not

   offered for the truth of the matter asserted.

(3) Statements 5 and 6 are admissible with a limiting instruction that the jury consider the

   statements only against Mr. Milne.

(4) Statements 7 and 9 must be excluded under Bruton unless Mr. Milne testifies at trial.



                                              ____________________________________
                                              ROBERT C. BRACK
                                              UNITED STATES DISTRICT JUDGE




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